                   Case 3:92-cr-03008-LC                  Document 806     Filed 06/17/08        Page 1 of 1
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                for the

                                            NORTHERN DISTRICT OF FLORIDA
                   United States of America                       )
                              v.                                  )
                     Joaquin Acosta-Lao                           ) Case No: 3:92cr3008-003/LAC
                                                                  ) USM N o: 02813-017
Date of Previous Jud gment:     12 August 1992                    )
(Use Date of Last Amended Judgment if Applicable)                 ) Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of : the defendant 9 the Director of the Bureau of Prisons 9 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       9 DENIED. : GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of Life       months is reduced to 360 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:      45           Amended Offense Level:                                         42*
Criminal History Category:   VI           Criminal History Category:                                     VI
Previous Guideline Range:  Life to months Amended Guideline Range:                                    360    to Life     months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
: The reduced sentence is within the amended guideline range.
9 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
9 Other (explain):
 III. ADDITIONAL COMMENTS
        *Defendant never filed a Motion for Reduction in Sentence in regard to Amendment 591. This amendment
would have reduced his total offense level from a level 45 to 44. However, the guideline range would not have been
impacted by this amendment, as the total offense level of 44 results in a guideline range of Life. Even though the
defendant’s sentence was not reduced, the fact that his offense level can be lowered by one point makes a significant
difference in the revised guideline range in conjunction with the crack amendment.
        Term of 360 months as to Counts I and II, each to run concurrently, one with the other.


Except as provided above, all provisions of the judgment dated 12 August 1992             shall remain in effect.
IT IS SO ORDERED.

Order Date:         17 June 2008                                                        s /L.A. Collier
                                                                                         Judge’s signature


Effective Date:                                                           Lacey A. Collier, Senior U.S. District Judge
                     (if different from order date)                                   Printed name and title
